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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                PINE BLUFF DIVISION

RONNIE JOE RUCKER                                                                      PLAINTIFF
ADC #138453

V.                                NO: 5:09CV00001 JLH/HDY

W.C. “DUB” BRASSELL
DETENTION CENTER et al.                                                            DEFENDANTS

                                             ORDER

       On January 23, 2009, Defendant Floyd Holoway filed an answer with his correct name

(docket entry #8). The Clerk is directed to change the style of the case to reflect the correct name

of Defendant Floyd Holoway.

       DATED this 26         day of January, 2009.




                                                       UNITED STATES MAGISTRATE JUDGE
